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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


                                                         Action No: 3:17CV00072
  ELIZABETH SINES, ET AL                                 Date: 5/24/2018
  vs.                                                    Judge: Norman K. Moon
                                                         Court Reporter: Tracey Aurelio
  JASON KESSLER, ET AL
                                                         Deputy Clerk: H. Wheeler



  Plaintiff Attorney(s)                          Defendant Attorney(s)
  Roberta Kaplan                                 James Kolenich
  Karen Dunn                                     Bryan Jones
  David Mills                                    John DiNucci
  Joshua Matz                                    Michael Peinovich, pro se
  John Rottenborn                                Elmer Woodard




                                     LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                          DEFENDANT:
  1.                                             1.



  PROCEEDINGS:
  Motion Hearing: [209] Motion to Dismiss, [212] Motion to Dismiss, [205] Motion to Dismiss,
  [207] Motion to Dismiss, [201] Motion to Dismiss

  Mr. Kolenich, Mr. Jones, Mr. DiNucci, and Mr. Peinovich argue Motions to Dismiss.

  Break

  Ms. Kaplan and Ms. Dunn respond.

  Closings by Mr. Kolenich, Mr. Jones, Mr. DiNucci and Mr. Peinovich.

  Remarks by Court.

  Order will issue.
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  Time in Court: 10:30-11:30= 1 hr 11:40-1:00= 1 hr 20 min Total = 2 hours 20 min
